 Case
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 7
 8                                 UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10                                                   ***
11
      UNITED STATES OF AMERICA,                                    2:10-cr-547-RLH-PAL-27
12
                      Plaintiff,                               STIPULATION TO EXTEND
13                                                            DEADLINES IN THIS COURT’S
      vs.                                                      MARCH 3, 2015 ORDER BY
14                                                                 THIRTY (30) DAYS
      SHAWN NEWKIRK,
15
                      Defendant.
16
17          The United States of America, by Assistant United States Attorney Elizabeth Olson White,

18   and Defendant Shawn Newkirk, by Assistant Federal Public Defender Nisha Brooks-Whittington,

19   submit the following Joint Stipulation to extend, by thirty (30) days, all of the deadlines set in this

20   Court's Order dated March 3, 2015. See CR 907.

21          The parties agree and stipulate to the following:

22          1.      On November 13, 2012, this Court sentenced Defendant to 48 months' imprisonment

23   on his conviction for drug-related offenses. CR 722.

24          2.      On February 27, 2015, Defendant filed a pro se motion for a reduction of sentence

25   pursuant to 18 U.S.C. § 3582(c)(2) in light of Guidelines Amendment 782. CR 906.

26          3.      On March 3, 2015, this Court issued an Order appointing the Federal Public Defender

27   to represent Defendant, and setting deadlines. Specifically, the Court ordered the Probation Office

28   to provide certain documents to the parties within 30 days (i.e., by April 2, 2015) and ordered the
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 1   Federal Public Defender to file any appropriate motion or stipulation within 120 days (i.e., by
 2   July1, 2015). CR 907.
 3          4.      The parties are seeking additional time to obtain and review the sentencing transcript
 4   to determine the guideline calculations.
 5          5.      For the reason stated above, the parties respectfully request that the Court issue an
 6   order extending the deadlines in the Court's March 3, 2015 Order, by thirty (30) days.
 7          DATED this 1st day of July, 2015.
 8                                         Respectfully submitted,
 9
10    RENE L. VALLADARES                                   DANIEL G. BOGDEN
      Federal Public Defender                              United States Attorney
11
      /s/ Nisha Brooks-Whittington                         /s/ Elizabeth O. White
12    ______________________________                       __________________________
      NISHA BROOKS-WHITTINGTON,                            ELIZABETH O. WHITE,
13    Assistant Federal Public Defender                    Appellate Chief and
                                                           Assistant United States Attorney
14
15
16   IT IS SO ORDERED.
17
18   ______________________________
     UNITED STATES DISTRICT JUDGE
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     DATED: July 2, 2015
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